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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MIA CRAGER, #300172
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     LUIS VALERIO MARTINEZ
6
7
                                  UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
      UNITED STATES OF AMERICA,             )   No. 2:19-cr-00003-JAM
10                                          )
                     Plaintiff,             )   STIPULATION AND ORDER TO CONTINUE
11                                          )   STATUS CONFERENCE
             v.                             )
12                                          )
      LUIS VALERIO MARTINEZ, et             )   DATE: August 6, 2019
13    al.,                                  )   TIME: 9:15 a.m.
                                            )   JUDGE: Hon. John A. Mendez
14                  Defendants.             )
                                            )
15
16          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17   Attorney, through Assistant United States Attorney Timothy H. Delgado, attorney for Plaintiff,
18   Federal Defender Heather E. Williams through Assistant Federal Defender Mia Crager, attorney

19   for Luis Valerio Martinez, and Michael Donald Long, attorney for Jose Arnulfo Alcala-Garcia
     that the status conference, currently scheduled for August 6, 2019, to be continued to September
20
     24, 2019 at 09:15 a.m.
21
            The reason is that defense counsel needs time to conduct an investigation and meet with
22   their clients who live more than five hours away by car.
23          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including September 24, 2019; pursuant to 18 U.S.C.

25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
     based upon continuity of counsel and defense preparation.
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1    Counsel and the defendant also agree that the ends of justice served by the Court granting this
2    continuance outweigh the best interests of the public and the defendant in a speedy trial.

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                                                  Respectfully submitted,
4    Dated: August 1, 2019                          HEATHER E. WILLIAMS
                                                    Federal Defender
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6                                                  /s/ Mia Crager
                                                   MIA CRAGER
7                                                  Assistant Federal Defender
                                                   Attorney for Defendant
8                                                  Luis Valerio Martinez
9    Dated: August 1, 2019                        /s/ Michael Donald Long
                                                  Attorney for Defendant
10                                                Jose Arnulfo Alcala-Garcia
11
     Dated: August 1, 2019                        McGREGOR W. SCOTT
12                                                United States Attorney
13                                                /s/ Timothy H. Delgado
                                                  TIMOTHY H. DELGADO
14                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
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1                                                  ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    September 24, 2019, shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered that the August 6, 2019 status conference shall be continued until September
13   24, 2019, at 09:15 a.m.
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15   Dated: August 2, 2019                               /s/ John A. Mendez
                                                         HONORABLE JOHN A. MENDEZ
16                                                       United States District Court Judge
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